                       EXHIBIT P




Case 1:23-cv-00878-TDS-JEP Document 56-16 Filed 01/31/24 Page 1 of 3
From:                   Cleta Mitchell <cleta@cletamitchell.com>
Sent:                   Monday, January 29, 2024 2:11 PM
To:                     Ramirez, Geneva
Cc:                     Dockterman, Michael
Subject:                [EXTERNAL] Re: RE: Democracy North Carolina et al. v. Alan Hirsch et al., Case No. 1:23-cv-00878-
                        TDS-JEP - Subpoena for Documents


No. You need to effect proper service which you have not done to date. No shortcuts will be agreed to


Cleta Mitchell, Esq.
Senior Legal Fellow
Conservative Partnership Institute

202.431.1950 (cell)
cleta@cletamitchell.com
www.whoscounting.us



        On Jan 29, 2024, at 8:08 PM, Ramirez, Geneva <gramirez@steptoe.com> wrote:


        Ms. Mitchell:

        Thank you for your response. Please confirm whether you will accept service of the subpoena by email,
        understanding that we would agree to a short extension to the current response date. If you do not
        agree, please be advised that we intend to move the Court for an order compelling your compliance
        with this subpoena. Again, if you are represented with respect to this matter, please advise.

        Best regards,

        Geneva Ramirez
        Associate

        Steptoe
        Steptoe LLP | 227 West Monroe Street | Suite 4700 | Chicago, IL 60606
        +1 312 577 1279 direct | +1 312 577 1370 fax | gramirez@steptoe.com | www.steptoe.com

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        From: Cleta Mitchell <cleta@cletamitchell.com>
        Sent: Monday, January 29, 2024 1:06 PM
        To: Ramirez, Geneva <gramirez@Steptoe.com>
        Cc: Dockterman, Michael <mdockterman@Steptoe.com>
        Subject: [EXTERNAL] RE: Democracy North Carolina et al. v. Alan Hirsch et al., Case No. 1:23‐cv‐00878‐
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               Case 1:23-cv-00878-TDS-JEP Document 56-16 Filed 01/31/24 Page 2 of 3
And I am not opening this attachment as I do not wish for you to claim (falsely) that you served it via
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Cleta Mitchell, Esq.
Senior Legal Fellow
Conserva ve Partnership Ins tute
(202) 431‐1950
cleta@cletamitchell.com

From: Ramirez, Geneva <gramirez@Steptoe.com>
Sent: Monday, January 29, 2024 12:40 PM
To: Cleta Mitchell <cleta@cletamitchell.com>
Cc: Dockterman, Michael <mdockterman@Steptoe.com>
Subject: Democracy North Carolina et al. v. Alan Hirsch et al., Case No. 1:23‐cv‐00878‐TDS‐JEP ‐
Subpoena for Documents

Ms. Mitchell:

Please find attached a copy of the subpoena for documents that was served upon you in the above‐
referenced matter on January 2, 2024, by Certified Mail. Please acknowledge receipt and advise whether
you are represented by counsel in this matter.

Best regards,

Geneva Ramirez
Associate

Steptoe
Steptoe LLP | 227 West Monroe Street | Suite 4700 | Chicago, IL 60606
+1 312 577 1279 direct | +1 312 577 1370 fax | gramirez@steptoe.com | www.steptoe.com

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